             Case 12-5078, Document 31, 03/22/2013, 892956, Page1 of 3




                       UNITED STATES COURT OF APPEALS
                           FOR THE SECOND CIRCUIT

             PRO SE SCHEDULING NOTIFICATION (NON - AGENCY CASE)



                          THIS SECTION MUST BE COMPLETED BY APPELLANT

 CASE TITLE:                        USCA DOCKET NUMBER:                APPELLANT:
                                        12-5078pr                     f;l<;l<T0TJS I1CCl{A.Y
  CKRIOUS MCC::(AY v.
                                    DISTRICT:                          APPELLANT'S ADDRESS:
 COUNTY OFDUT£-l'f&SS@-t.~ftl·                                         Ef..MIRt.\. 1Jl1?T{tr.T[0NAL 't'ACILITY
                                     SOTJT1:fEl?fI.T DTSTt?TCT f)F­    187g DA"IS Sf. ~ BAf\JOOFT1ZfJ
                                     fl.TETJ Y0t? T(                   m rox 'Tf) Er..MTRA l\jy 14Cfl2-()C m
                                    DISTRICT/AGENCY NUMBER:            APPELLANT'S PHONE
                                                                       NUMBER:
                                                                                   (007) 734-3<Xll


        Pursuant to Local Rule 3l.2(a)( 1)(A), I request that my brief and appendix be accepted

for filing no later than J un e 7, 2 0 1 3                 . This date is within 91 days ofthe later
                                 (MM/DDIYYYY)
of (1) the receipt of the last transcript in my case or (2) when no transcript is ordered, the required

filing date of my Fonn D-P with the Court. [:t1rrch 8, 2013 was date of t1:Jtion to 1?einstate Appeall.

        I understand that if I fail to return this signed scheduling proposal as stated above, the Court

will issue an order setting a 40-day deadline to file my brief. If I fail to file my brief, the case may

be dismissed.

        I also understand that in the absence of extraordinary circumstances, such as a personal

illness or family death, the Court will not grant a motion to extend the time to file a brief.

Local Rule 27.1.(f)(1).




Mrrch 15, 2013
      Date                                                                        Print Name




                                                                                               Rev. May. 2011
             Case 12-5078, Document 31, 03/22/2013, 892956, Page2 of 3




       UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

CERIOUS MCCRAY       v.
                                           C E R T I F I CAT E 0 F        S E R V ICE
COUNTY OF DUTCHESS        et al.,          Docket Number: 12-507pr
                                                        IL 5O'Tj'


     I, Ceriou.s McCray / hereby certify under ,PEnalty of perjury that on

March 15, 2013 C. E., I served a copy of PRO SE SCHEOOUNG NOTIFICATION

(NON-AGENCY CASE) - 1 Page, by

                               (x1 UNited States Mail

on the following parties;

CLAUDE S PLATTON c/o Oi'FICE OJ!' THE NEW YORK ATTORNEY GENERAL, DEPARTt<J.ENT OF LAW,
120 BROADWAY, .25 FLOOR, NEW YORK NY 10271-0332 II~ ECR Sl'AlE ~SII

DAVID L .POSNIiR c/o McCABE & i'vJACK LLP, 63 WASHINGTON srREET, PO .BOX 5<!J I
POUGHKEEPSIE, NY 12602-05(11 "~.RR Il.lI.UES3 a:x.Nr.i ~..

CLERK'S OFFICE.1 UNIlED STATES COUR'r OF APPEALS FOR THE SECOND CIRCUIT I
DANIEL PATRICK MOYNIHAN UNITED STATES COURTHOUSE, SOO PEARL STREET, R~ 370,
NEW YORK, NY 10007


Executed on: Ma.rch 15, 2013 C.E.


                                                      F~:   CERIOUS MCCRAY,




~lf, different methods of service have been used on different parties / please
~d~cate on a separate page/the type of service used for each respective party.

Certificate of Service Form
                   Case 12-5078, Document 31, 03/22/2013, 892956, Page3 of 3




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